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                                                     Document Electronically Filed


                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY

                                        )
SPY PHONE LABS LLC,                     )
                                        )
                   Plaintiffs,          ) Civil Action No. 2:14-cv-06565
                                        ) MCA-MF
            v.                          )
                                        ) ECF Case
GOOGLE INC. and ANDREI CIUCA,           )
d/b/a CAD COMPLAINT                     ) Motion Return Date:
DESIGN, and JOHN DOES 1-49,             )
                                        )
                   Defendants.          )
                                        )


          MEMORANDUM OF LAW IN SUPPORT OF
  DEFENDANT GOOGLE INC.’S MOTION TO TRANSFER VENUE OR
            DISMISS THE AMENDED COMPLAINT




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                         PRELIMINARY STATEMENT
      Defendant Google Inc. (“Google”) respectfully submits this memorandum of

law in support of its motion (i) to transfer this case to the Northern District of

California under 28 U.S.C. § 1404(a) based on the mandatory forum selection

clause in the underlying Developer Distribution Agreement (“DDA”) between

Google and plaintiff Spy Phone Labs, LLC (“Plaintiff’); or, alternatively, (ii) to

dismiss the Amended Complaint pursuant to Rule 12(b)(6) for failure to state a

claim upon which relief may be granted.

      This action arises from Plaintiffs DDA with Google pursuant to which it

distributed applications (“apps”) for mobile devices through a digital distribution

platform known as Google Play. Plaintiff alleges that other app developers - one

newly named defendant and various “John Does” (collectively, the “Individual

Defendants”) - distributed apps on Google Play that allegedly infringed Plaintiffs

registered trademark, SPY PHONE. Plaintiff asserts claims of trademark

infringement and tortious interference with prospective economic advantage

against the Individual Defendants and, as against Google, contributory

infringement and tortious interference with prospective economic advantage.

      Because the unambiguous mandatory forum selection clause in the DDA

requires that Plaintiffs claims be litigated exclusively in the courts in Santa Clara

County, California, this action must be transferred to the Northern District of
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California pursuant to 28 U.S.C. § 1404(a). Nevertheless, if this Court retains the

action, Plaintiffs claims should be dismissed because Plaintiff has failed to state

any claim against Google as a matter of law.

      Contributory Trademark Infringement. Plaintiff fails to plead a viable claim

for contributory infringement because Plaintiff has not alleged that Google either

(i) intentionally induced another to infringe Plaintiffs trademark, or (ii) had the

requisite specific knowledge of infringing activity required to impose liability.

Plaintiff alleges at most that Google may have had general knowledge of allegedly

infringing activity on Google Play and not the type of specific knowledge required

to impose contributory infringement liability upon an online service provider.

Furthermore, although Plaintiff claims that it identified multiple apps on Google

Play that allegedly infringed its mark, Plaintiff admits that despite Google having

responded to, and taken action with respect to, specific claims of alleged trademark

infringement, Plaintiff later chose not to report additional alleged infringements to

Google via Google’s trademark complaint process.

      Tortious Interference. Plaintiffs tortious interference claim is premised

upon Google’s suspension of Plaintiffs count and removal of its Spy Phone app

from the Google Play online marketplace for violations of Play policies and the

DDA. As such, the claim falls within Section 230(c)(2)(A) of the Communications

Decency Act (“CDA”), 47 U.S.C. § 230(c)(2)(A), which affords Google statutory



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immunity from Plaintiffs state law tort claims that are founded on Google’s

decision to restrict access to certain content. Apart from Google’s CDA immunity,

Plaintiffs claim also fails because Plaintiff has not pled facts sufficient to allege

tortious interference with prospective economic advantage. Plaintiff has not

alleged that Google acted with the requisite “malice” in removing Plaintiffs app,

terminating and suspending Plaintiffs account, and allegedly failing to remove

other developers’ apps. All this challenged conduct is within Google’s rights under

the DDA and as such, pursuant to New Jersey’s economic loss doctrine cannot be

the basis of a tort claim independent of the contract.

      Furthermore, by simply exercising its contract rights, Google has not acted

wrongfully or without justification; indeed, Plaintiff does not claim that Google

even breached the DDA. Nor has Plaintiff alleged that Google knew of the alleged

prospective economic advantage — that Plaintiff would lose ancillary advertising

revenue from its independent website if fewer consumers downloaded Plaintiffs

app. Indeed, such claim for damages is further barred by the liability limitations

clause in the DDA, which precludes any claims for lost profits or consequential

damages. As such, the Complaint fails to state a claim for tortious interference.

      Accordingly, if not transferred to the Northern District of California,

Plaintiffs claims against Google should be dismissed with prejudice.




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                                     FACTS
A.    The Parties

      Plaintiff allegedly owns the registered trademark SPY PHONE1 and

developed an app (“Plaintiffs App”) for free download to mobile phones that use

the Android operating system. (AC2 ^[29,32,37) When installed on a mobile

phone, Plaintiffs App allows the user or an authorized third party to obtain

extensive information about the phone’s usage, including the phone’s location, the

phone number of the sender or recipient of incoming and outgoing messages, and

Internet usage. (AC |33) Plaintiff allegedly generates revenue from Plaintiffs App

through advertisements placed on its website, which is located at <spyphone.com>.

(AC 1J37)3

      Google owns Google Play, a digital distribution platform for developers that

serves as a marketplace for users to download apps to their Android devices. (AC



' Although not alleged in the Amended Complaint, Plaintiff is the purported
assignee of those trademark rights, pursuant to a nunc pro tunc assignment dated
October 20, 2014, and recorded with the U.S. Patent & Trademark Office on
October 31, 2014. Google reserves its right to challenge the bona fides of this
assignment, which states it is based on a 2012 “unwritten agreement.” A certified
copy of this recorded assignment is annexed as Exhibit B to the Declaration of
Patricia M. Graham (“PG Deck”), submitted herewith.
2As used herein, “AC” refers to the Amended Complaint, which is Exhibit A to the
PG Deck “DDA” refers to the Developer Distribution Agreement, which is Exhibit
A to the accompanying Declaration of Bryan Woodward (“BW Deck”).
3 Plaintiff alleges that advertisements are placed on its website by third parties
using Google’s AdSense program, but the Amended Complaint does not allege any
claim against Google relating to the AdSense service itself. (AC HJ37-39)

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Tfl2; BW Decl., p ) End users can also post ratings of and comments about

particular apps. (AC f f 13-14)

      The Amended Complaint also alleges that the Individual Defendants one

Andrei Ciuca (“Quca”) and John Does 1-49 (the “Doe Defendants”), are app

developers who have infringed on Plaintiff’s trademark and/or interfered with

Plaintiff’s prospective business relations. (AC fl-6) Although Plaintiff alleges that

it complained to Google about the alleged conduct of these app developers,

Plaintiff also contends that it does not know the names or legal capacities of the

Doe Defendants. (AC fl6,49)

B.    Plaintiff Accepted the Terms of the Google Play PDA

      To distribute apps on Google Play, Plaintiff first had to create a Google Play

developer account, pay a registration fee, and agree to the DDA (and the policies

incorporated therein). (BW Deck, ^8(b)) To complete registration, Plaintiff was

required (1) to acknowledge that it had agreed to the DDA by clicking a box below

the window displaying the DDA and (2) confirm that it agreed to the DDA by

clicking a hyperlink at the bottom of the page. (BW Deck, f8(d)) On August 1,

2012, Plaintiff completed its Google Play registration, having electronically

“clicked” that it agreed to and accepted the terms of the DDA. (BW Deck, fl8~9)

Plaintiff published its first app on Google Play on August 13, 2012, which it could

not have done unless it had accepted the DDA. (BW Deck, %9) The DDA makes



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clear that Plaintiffs relationship to Google is contractual:

      This [DDA] forms a legally binding contract between you and Google
      in relation to your use of the Market to distribute Products. In order to
      use the Market to distribute Products, you must first agree to this
      [DDA] by clicking to accept where this option is made available to
      you. You may not distribute products on the market if you do not
      accept this Agreement.
(DDA, §2.1 [emphasis added]) Section 7.2 of the DDA authorizes Google, in its

sole discretion, to remove apps (referred to as “Products”) from Google Play for

several reasons, including if Google deems a Product to be spyware:

      Google Takedowns. While Google does not undertake an obligation
      to monitor the Products or their content, if Google is notified by you
      or otherwise becomes aware and determines in its sole discretion that
      a Product or any portion thereof or your Brand Features: (a) violates
      the intellectual property rights or any other rights of any third party;
      (b) violates any applicable law or is subject to an injunction; (c) is
      pornographic, obscene or otherwise violates Google’s hosting policies
      or other terms of service as may be updated by Google from time to
      time in its sole discretion; (d) is being distributed by you improperly;
      (e) may create liability for Google or Authorized Carriers; (f) is
      deemed by Google to have a virus or is deemed to be malware,
      spyware or have an adverse impact on Google’s or an Authorized
      Carrier’s network; (g) violates the terms of this [PDA] or the
      Developer Program Policies for Developers;....Google may remove
      the Product from the Market or reclassify the product at its sole
      discretion. Google reserves the right to suspend and/or bar any
      Developer from the Market at its sole discretion.
(DDA, §7.2 [emphasis added]) Plaintiff admits that the DDA also incorporates by

reference Google’s Developer Program Policies and Google’s Privacy Policy. (AC

120; DDA, §§4.11,9.2;)

      The DDA also includes an exclusive California choice of law provision and


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forum selection clause:

      This [DDA], and your relationship with Google under this [DDA]
      shall be governed by the laws of the State of California without regard
      to conflict of laws provisions. You and Google agree to submit to the
      exclusive jurisdiction of the courts located within the county of Santa
      Clara, California to resolve any legal matter arising from this [PDA].
      Notwithstanding this, you agree that Google shall still be allowed to
      apply for injunctive remedies (or an equivalent type of urgent legal
      relief) in any jurisdiction.

(DDA, §15.7 [emphasis added])

C.    Google Acted on Plaintiffs Trademark Complaints
      In or about November 2012, Plaintiff discovered that other developers,

including some of the Individual Defendants, offered apps on Google Play “that

copied or incorporated Plaintiffs SPY PHONE trademark and that performed the

same or similar functions as Plaintiffs App.” (AC f48) Using Google Play’s

online form, Plaintiff submitted trademark complaints to Google respecting such

developers. (AC f49) If an app were suspended from Google Play based on an

infringement complaint, Google would notify the allegedly infringing developer,

stating why its app had been removed and providing the name and address of the

complainant. (AC ^|50)Accordingly, when Google removed the allegedly

infringing apps from Google Play, Ciuca and other app developers would have

been notified that Plaintiff had submitted trademark infringement complaints

against them. (AC ^[54-55, 64)

      Plaintiff admits that from November 2012 through May 2013, in response to


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Plaintiffs trademark complaints, Google removed apps listed on Google Play by

other developers, (AC ^[51) In June 2013, in response to a specific trademark

complaint by Plaintiff, Google allegedly also removed an app listed by defendant

Ciuca. (AC TJ54) In only one instance in June 2013 did Google allegedly respond to

a specific trademark complaint submitted by Plaintiff by refusing to remove an app

called “Reptilicus.net Brutal Spy Phone,” based on Google’s alleged notification to

Plaintiff that it was “not in a position to mediate trademark disputes between

developers and trademark owners. As a courtesy we have considered your claim,

but are unable to determine its merits at this time.” (AC fflJ58-59) Plaintiff does

not allege that it again filed any further trademark complaints with Google.

D.    Google Terminated, and Later Reinstated, Plaintiffs Account
      On June 28, 2013, Google notified Plaintiff that the SPY PHONE app had

been removed from Google Play and Plaintiffs developer account had been

terminated. (AC TJ60) Plaintiff was advised that the app had been removed because

“it violated Google’s ‘spyware’ policy,” (AC f61) Plaintiff alleges the suspension

was the result of false third party complaints submitted to Google about Plaintiffs

app were submitted by one or more of the Individual Defendants to Google. (AC

1163-64)

      Plaintiff appealed Google’s decision to remove its app and terminate its

Google Play account. (AC 168) Google denied the appeal and initially did not
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reinstate Plaintiffs developer account. (AC Tf69) After discussions with Plaintiffs

representatives and after Plaintiff made changes to the app consistent with

Google’s policies, Google informed Plaintiff that its violation of certain aspects of

Google Play’s spyware policy had been addressed, but that Plaintiffs developer

account could be reinstated only if Plaintiff stopped using the name SPY PHONE

to identify Plaintiffs App. (AC ffl[72-73) Google advised:

      While providing additional disclosure in the app description and
      regular notification to targeted phones are crucial steps to
      accomplishing policy compliance, the Google Play Team believes the
      app is still in violation of policy because of the app’s title. App titles
      should not be misleading or represent the product as being spyware
      and/or capable of surreptitious tracking.4 (AC Tf73)

      Plaintiff alleges that Google stated that developers would thereafter be

prohibited from using the word “spy” in the title of their apps listed on Google

Play. (AC f75) Based upon these alleged discussions, Plaintiff agreed to change

the name of its app to “Phone Tracker” and Plaintiffs account was reinstated in

October 2013. (AC ^76-78)

E.    Plaintiff Submitted Complaints of Alleged Policy Violations

      Plaintiff alleges that after its account was reinstated, the number of

downloads of Plaintiffs App declined, resulting in a reduction in Plaintiffs

advertising revenue through its separate website located at spyphone.com. (AC

ffl[39,79-80) While Plaintiff alleges that “dozens and dozens” of parental


4The Complaint does not attach a copy of this alleged communication.

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monitoring and “other” apps continued to use names that contained “spy,” only

“several” apps contained Plaintiffs actual trademark, and Plaintiff refers to only

two specific apps that included the words “spy phone” in their names. (AC

84) Plaintiff alleges that due to the “ease with which” Google could monitor

Google Play content, Google must have known (or was willfully blind to the fact)

that other developers, including the Individual Defendants, continued to use

Google Play to distribute apps that infringed on Plaintiffs SPY PHONE

trademark. (AC f 86)

      In or about January 2014, Plaintiff began submitting complaints about other

developers5 apps that contained the word “spy” in their names and competed with

Plaintiff. (AC ^89) Plaintiff admits, however, that these were not trademark

complaints like those that Google had acted on previously; instead, Plaintiff

submitted complaints of alleged spyware policy violations that did not require that

Plaintiffs identity be revealed. (AC ^90) The DDA, however, expressly provides

that Google does not undertake an obligation to monitor the content of Google

Play. (DDA §7.2).

F.    Google Suspended Plaintiffs Account
      In early July 2014, Plaintiffs representative allegedly submitted a spyware

complaint to Google concerning Individual Defendant Ciuca. (AC %9l~92) On or

about July 16, 2014, Google notified Plaintiff that its developer account had been



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suspended for violation of Google’s spam policy and Plaintiffs Phone Tracker app

was removed from Google Play, (AC f93) Plaintiff alleges that this suspension

was precipitated by complaints that Google received from Ciuca and/or other

Google Play developers and that Google knew or should have known that the

complaints were false or fraudulent. (AC f ?6) Plaintiff alleges that after its account

was suspended, Ciuca listed an app containing the name “Spy Phone,” although

Plaintiff does not allege that it filed any trademark complaint with Google in

connection with such app. (AC ^[98-99)

      Approximately 30 days later, Plaintiff allegedly received an anonymous

letter purportedly from “’a concerned’ member” of the Google Play team. (AC

If103) The letter, which is not attached to the Complaint, allegedly states that “there

was no real justification” for either the 2013 or 2014 suspensions of Plaintiffs

developer account, that those actions were intended to punish Plaintiff, and that the

prohibition on the use of the word “spy” in an app name was being enforced only

against Plaintiff. (AC 1fl[104-105) The anonymous letter also allegedly states that

unidentified Google employees, who either developed their own apps or helped

other developers with apps listed on Google Play, “had orchestrated” the removal

of Plaintiff s App. (AC 1(106)

      Google Play allegedly continues to offer apps that infringe on Plaintiffs

trademark. (AC K1fl 16-20) The Amended Complaint does not allege that Plaintiff



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submitted any more trademark infringement complaints to Google.5


                                   ARGUMENT

                                      POINT I

 THE DDA’S FORUM SELECTION CLAUSE REQUIRES TRANSFER OF
            PLAINTIFF’S CLAIMS AGAINST GOOGLE

       A court should transfer a case to any other district where venue is proper

“for the convenience of parties and witnesses, in the interest of justice” 28 U.S.C.

§ 1404(a); see AtL Marine Constr. Co. v. US. Dist. Court for W Dist. o f Tex., 134

S. Ct. 568 (2013); Samuels v. Medytox Solutions, Inc., 2014 WL 4441943 (D.N.J.

2014), But as explained in Samuels, the existence of an agreed-upon exclusive

forum selection clause changes the traditional Section 1404(a) analysis such that

forum-selection clauses should almost always control irrespective of the parties’

private interests:

       , . In Atlantic Marine, [134 S.Ct. 568], the Court found that the
       existence of such a [forum selection] clause “requires district courts to
       adjust their usual § 1404(a) analysis in three ways,” two of which are
       relevant to this motion. Id. at 581. As for the first of these
       adjustments, the Court directed that the plaintiffs choice of forum be
       given no weight. Id. Instead, the Court argued, the burden shifts to the
       plaintiff to demonstrate “that transfer to the forum for which the

5 Plaintiff alleges that as of the date of the amended complaint, an app named
“SpyPhone 1.0” (AC 1(120) appeared on Google Play. Plaintiff does not allege It
submitted a specific trademark complaint about the app — and it did not. But,
Google nonetheless removed that app from Google Play on or about February 17,
2015, along with its newer version “SpyPhone 2.0” in response to the allegations in
the amended complaint.

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      parties bargained is unwarranted.” Id. In so holding, the Court
      reasoned that a bargained-for forum selection clause represents the
      plaintiffs exercise of “its ‘venue privilege’ before a dispute arises,”
      and, therefore, “[o]nly that initial choice deserves deference.” Id. at
      582. Second, the Court required that the parties’ private interests be
      completely disregarded when considering a § 1404(a) transfer motion
      based on a forum selection clause. The Court viewed the parties’
      agreement as a waiver of “the right to challenge the preselected forum
      as inconvenient or less convenient for themselves or their witnesses,
      or for their pursuit of the litigation.” Id. Therefore, only the public
      interest factors are relevant in the presence of a forum selection
      clause, and since “those factors will rarely defeat a transfer motion,
      the practical result is that forum-selection clauses should control
      except in unusual cases.” Id.

2014 WL 4441943, at *4 (emphasis added). See also Atlantic Marine, 134 S. Ct. at

568 (“a proper application of § 1404(a) requires that a forum selection clause be

‘given controlling weight in all but the most exceptional cases.”’ (Quotes omitted).

      “[A] forum selection clause is presumptively valid and enforceable.” Dillon

v. Ski Shawnee, Inc., 2014 WL 3900877, at *3 (D.N.J. 2014) (enforcing forum

selection clause against personal injury plaintiff and transferring action to the

Middle District of Pennsylvania). That presumption can be rebutted only by “a

clear showing that (i) [the clause] is the result of fraud or overreaching, (2) that

enforcement would violate a strong public policy of the forum or (3) that

enforcement in the particular circumstances of the case result in litigation in a

jurisdiction so seriously inconvenient as to be unreasonable.” Id. The party

challenging the forum selection clause bears the burden of showing that the clause

is unenforceable. Hoffer v. InfoSpace.com, Inc., 102 F, Supp. 2d 556, 567-68
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(D.N.J. 2000) (enforcing forum selection clause and transferring action to Western

District of Washington). See also Dawes v. Publish Am. LLP, 563 Fed. Appx. 117,

118 n.3 (3d Cir. 2014) (“If the forum selection clause was mandatory, plaintiff

would be entitled to a presumption of enforceability.”).

      Many courts in this Circuit and other jurisdictions have upheld forum

selection clauses in online “click-wrap” agreements where, as here, the contracting

party affirmatively accepted the online contract terms. See, e.g., Evans v. Linden

Research, Inc., 763 F. Supp. 2d 735, 740 (E.D. Pa. 2011) (enforcing forum

selection clause in online terms of service agreement); Feldman v. Google, Inc.,

513 F. Supp. 2d 229, 238 (E.D. Pa. 2007) (upholding forum selection clause

included in online agreement after the plaintiff clicked his assent to all the terms);

Caspi v. Microsoft Network, LLC, 323 N.J. Super. 118, 122 (App. Div. 1999)

(enforcing forum selection clause in Microsoft online subscriber agreement).6

      Here, the forum selection clause in the DDA unambiguously requires that


(>See also Rudgayzer v. Google, Inc., 986 F. Supp. 2d 151, 156-57 (E.D.N.Y. 2013)
(enforcing forum selection clause in Google clickwrap agreement, noting that
forum selection clauses in such agreements are “reasonably communicated”);
 Tradecomet.com LLC v. Google, Inc., 693 F. Supp. 2d 370, 376 (S.D.N.Y. 2010),
a ffd in part, 647 F.3d 472 (2d Cir.), a ffd in part, 435 Fed. Appx. 31 (2d Cir.
2011) (upholding forum selection clause in Google AdWords online agreement);
Song Fi, Inc. v. Google Inc., 2014 WL 547294, at *6 (D.D.C. 2014) (YouTube’s
forum selection clause not unconscionable under D.C. law; presumption in favor of
forum selection clauses includes those in non-negotiated boilerplate contracts)
Leong v. MySpace, Inc., 2011WL 7808208, at *4-5 (C.D. Cal. 2011) (forum
 selection clause embedded within a “click-wrap” contract is enforceable).

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this dispute be litigated in the courts located in Santa Clara County, California,

which include the District Court for the Northern District of California. The DDA

provides: “You and Google agree to submit to the exclusive jurisdiction of the

courts located within the county of Santa Clara, California to resolve any legal

matter arising from this [DDA].” (DDA, §15.7)

      There are no extraordinary circumstances or any policy reasons to deny

Google the benefit of the agreed-upon forum. To the contrary, the parties’

contractual relationship is governed by California law and, when Plaintiff accepted

the DDA it had notice of the forum selection clause, which unambiguously

requires that all disputes involving Plaintiffs “relationship with Google” through

the DDA be litigated in California. Indeed, Plaintiff is a merchant that apparently

conducts business internationally; it has alleged no reason why it cannot press its

claims in the Northern District of California.

                                     POINT II

                   RULE 12(b)(6) STANDARD OF REVIEW

      On a Rule 12(b)(6) motion to dismiss, the Court must take all allegations in

the Complaint as true and view them in the light most favorable to the plaintiff.

See Warth v. Seldin, 422 U.S. 490, 501 (1975); Trump Hotels & Casino Resorts,

Inc. v. Mirage Resorts Inc., 140 F.3d 478, 483 (3d Cir. 1998). “A plaintiffs7

7 See www.cand.uscourts.RQv/about (“Today the boundaries of the Northern
District of California encompasses fifteen counties:... Santa Clara....”).

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obligation to provide the ‘grounds’ of his ‘entitlement to relief requires more than

labels and conclusions, and a formulaic recitation of the elements of a cause of

action will not do.” Bell Atl. Corp, v. Twombly, 550 U.S. 544, 555 (2007). Rather,

the factual allegations must be sufficient to raise a plaintiffs right to relief above a

speculative level, such that it is “plausible on its face.” Id. at 570. Those

allegations must “allow[] the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662,

678 (2009) (cites omitted). While “[t]he plausibility standard is not akin to a

‘probability requirement’... it asks for more than a sheer possibility.” Id.

      Applying these standards, the Complaint fails to state a claim against Google

as a matter of law for either contributory trademark infringement or tortious

interference with prospective economic advantage. Therefore, Counts II and III of

the Complaint should be dismissed in their entirety.

                                      POINT III

       PLAINTIFF’S CLAIM FOR CONTRIBUTORY TRADEMARK
             INFRINGEMENT SHOULD BE DISMISSED

      Plaintiffs claim against Google for contributory trademark infringement

should be dismissed as a matter of law. Under the standard established by the

Supreme Court in Inwood Labs., Inc. v. Ives Labs, Inc., 456 U.S. 844, 854 (1982),

Google, acting in its capacity as an online service provider, is not alleged to have

“intentionally induce[d] another to infringe a trademark,” and the alleged facts fail


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to state a claim that Google “continue[d] to supply its product to one whom it

knows or has reason to know is engaging in trademark infringement.” As the

Second Circuit made clear in its seminal opinion in Tiffany (NJ), Inc. v eBay, Inc.,

600 F.3d 93, 105 (2d Cir. 2010), in the unique context of an online marketplace,

where the provision of an online service platform is analogous to the Inwood Labs'

“product,” “[f]or contributory trademark infringement liability to lie, a service

provider must have more than a general knowledge or reason to know that its

service is being used to sell counterfeit goods. Some contemporary knowledge of

which particular listings are infringing or will infringe in the future is necessary.”

600 F.3d at 107 (emphasis added).

      Although the Third Circuit has not yet opined on this issue in the context of

an online marketplace, Google respectfully urges this Court to apply the Second

Circuit’s Tiffany rationale in this case where Plaintiff admits in its Amended

Complaint that (i) Google in fact responded to every specific trademark complaint

that Plaintiff submitted to Google and removed those apps listed in the Google

Play store (with one exception discussed below, where Google responded that it

would not remove one app because it could not determine if it was infringing), and

(ii) Plaintiff nonetheless thereafter elected voluntarily not to use Google’s

trademark complaint reporting process to report other allegedly infringing apps.

(AC ^[49,51,58-59,90).



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      Secondary liability for trademark infringement was first recognized by the

Supreme Court in Inwood Labs.          Inwood Labs., Inc. and other petitioners

manufactured generic versions of an off-patent competitive drug (cyclandelate)

made by Ives Laboratories, Inc. Ives had branded its drug with its own registered

trademark.   Ives’ contributory infringement claim was based on petitioners’

distribution of their generic drugs to pharmacists, some of whom then mislabeled

consumer prescriptions for the generic drugs using Ives’ registered trademark. 456

U.S. at 850-51. The Court emphasized that “whether these petitioners were liable

for the pharmacists’ infringing acts depended upon whether, in fact, the petitioners

intentionally induced the pharmacists to mislabel generic drugs or, in fact,

continued to supply cyclandelate to pharmacists whom the petitioners knew were

mislabeling generic drugs.” Id. at 855 (emphasis added). Liability under the

Lanham Act may be imposed only where a “distributor intentionally induces

another to infringe a trademark, or.. .continues to supply its product to one whom it

knows or has reason to know is engaging in trademark infringement....” Id. at 854.

      In the unique context of an Internet marketplace, the Second Circuit applied

Inwood Labs In Tiffany, refusing to hold eBay liable for contributory trademark

infringement for extensive third-party listings of counterfeit Tiffany merchandise

on eBay’s auction site. The Second Circuit noted that eBay undertook meaningful

efforts to prevent sales of counterfeit Tiffany goods, emphasizing that every time



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eBay received a complaint on a specific seller of counterfeits, that seller’s listing

was removed. Id. at 109. Nevertheless, Tiffany had argued that eBay was a

contributory infringer because it “continued to supply its services to the sellers of

counterfeit Tiffany goods while knowing or having reason to know that such

sellers were infringing Tiffany's mark.” 600 F. 3d at 106. The Court expressly

rejected this argument, holding that “[f]or contributory trademark infringement

liability to lie, a service provider must have more than a general knowledge or

reason to know that its service is being used to sell counterfeit goods. Some

contemporary knowledge of which particular listings are infringing or will infringe

in the future is necessary.” Id. at 107 (emphasis added).

      Tiffany alleged that eBay’s online marketplace was being used continuously

by others to sell counterfeit Tiffany merchandise. eBay utilized a “notice-and-

takedown system” called VeRO that allowed verified “owners of intellectual

property rights, including Tiffany, to ‘report to eBay any listing offering

potentially infringing items, so that eBay could remove [them].’.,.Any such rights-

holder with a ‘good-faith belief that [a particular listed] item infringed on a

copyright or a trademark’ could report the item to eBay, using a [“NOCI”] form.’”

Id. at 99. Whenever Tiffany had submitted a NOCI to eBay, eBay removed the

reported listing. Id. Notably, while eBay also suspended seller accounts that were

used solely to sell counterfeit goods, it did not initially suspend accounts of sellers



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of infringing products if such sellers otherwise were legitimate. Id. at 100. Despite

“thousands” of NOCIs submitted by Tiffany and acted on by eBay, Tiffany

nevertheless argued that eBay was liable for contributory trademark infringement

because “eBay knew, or at least had reason to know, that counterfeit Tiffany goods

were being sold ubiquitously on its website.” Id. at 106.
                                                                                o

      Faced with a case of first impression involving an online marketplace, the

Second Circuit applied the Inwood Labs test for contributory trademark

infringement. As Tiffany did not argue that eBay had intentionally induced others

to infringe, the Court assessed the second prong of the Inwood Labs' test based on

Tiffany’s argument that eBay continued to provide sellers of counterfeits access to

eBay “while knowing or having reason to know that such sellers were infringing8


8 The Court noted that the Ninth Circuit previously had addressed contributory
trademark infringement in the context of an Internet service, but not a marketplace,
in Lockheed Martin Corp. v. Network Solutions, Inc.t 194 F.3d 980 (9th Cir.
 1999).“[T]he Ninth Circuit held that Inwood's test for contributory trademark
infringement applies to a service provider who exercises sufficient control over the
infringing conduct.” 600 F,3d at 104. In Lockheed, the Court nevertheless refused
to find Network Solutions (“NS”) — an Internet service provider that registered
domain name combinations—liable for contributory trademark infringement based
on third parties having registered domain names that infringed Lockheed’s
trademark. 194 F.3d at 984-85. In particular, the Court noted that while NS
provided this service and earned fees from domain registrants, it “does not supply
the domain-name combination any more than the Postal Service supplies a street
address by performing the routine service of routing mail.” Id. at 985. The Ninth
Circuit also cautioned that NS’ service did “not entail the kind of direct control and
monitoring required to justify an extension of the ‘supplies a product’ requirement”
and that “[s]uch a stretch would reach well beyond the contemplation of Inwood
Labs and its progeny.” Id.

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Tiffany’s mark.” Id.

      The Second Circuit held that while eBay “clearly possessed general

knowledge as to counterfeiting on its website,” under Inwood Labs, such general

knowledge is insufficient to impose contributory liability on a defendant. Id. at

107. Rather, consistent with Inwood Labs, to impose such liability it must be

shown that a defendant continued to supply its services, in the case of eBay, “to

one whom it knows or has reason to know is engaging in trademark infringement.”

Id. (emphasis in original). The Court held that “[fjor contributory trademark

infringement liability to lie, a service provider must have more than a general

knowledge or reason to know that its service is being used to sell counterfeit

goods. Some contemporary knowledge of which particular listings are infringing or

will infringe in the future is necessary.” Id. at 109.

       Significantly, the Second Circuit emphasized that Tiffany’s demand letters

to eBay and other actions it took “did not identify particular sellers who Tiffany

thought were then offering or would offer counterfeit goods.” Id. Where eBay did

receive notice from Tiffany identifying specific acts of counterfeiting, eBay

removed those listings. Tiffany therefore “failed to demonstrate that eBay was

supplying its service to individuals who it knew or had reason to know were selling




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counterfeit Tiffany goods.” Id. at 109.9 See also Peek & Cloppenburg KG v. Revue,

Inc., 2012 WL 4470556, at *5 (S.D.N.Y. 2012) (in the context of an online service

that only hosts sales of allegedly infringing goods, Tiffany requires “a higher

standard of awareness of the infringing activity” in recognition of “the difficulties

that an online auction host has in ascertaining which Tiffany-branded products

were authentic and which were counterfeit when Tiffany only made general

allegations of counterfeiting.”) (citing Tiffany, 600 F.3d 105-09).

      Although Google did not ignore any specific trademark complaint submitted

by Plaintiff and removed from Google Play all but a single third party app as to

which Plaintiff submitted such complaints, Plaintiff nevertheless seeks to hold

Google liable for alleged infringement of which it had no specific knowledge.10


9 For the same reason, eBay was deemed not “willfully blind” to the counterfeit
sales because “eBay did not ignore the information it was given about counterfeit
sales on its website.” Id. at 110. Cf. Louis Vuitton Malletier v. Akanoc Solutions,
S.A., 658 F.3d 936, 940-41 (9th Cir. 2011) (18 specific notices of infringement
issued by Louis Vuitton to defendants, which hosted websites selling counterfeit
goods, were completely ignored and no action was taken.)
10Google did not remove an app named “Reptilicus.net Brutal Spy Phone” because,
as Google advised Plaintiff, it could not determine that it was infringing. (AC
ffl[58-59) Indeed, this name appears to use the words “Spy Phone” merely as a
descriptor and not as a trademark, as opposed to the distinctive prefix
“Reptilicus.net Brutal.” See 15 U.S.C. § 1115(b)(4)(providing defense to a
trademark infringement claim when “the use of the ... term ... charged to be
infringement is a use, otherwise than as a mark...of a term ... which is descriptive
of and used fairly and in good faith only to describe the goods or services of such
party....”). The Third Circuit also has held that descriptive terms “’describe a
characteristic or ingredient of the article to which it refers.’... Courts and
commentators have recognized the difficulties o f distinguishing between

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Plaintiff alleges that Google had a general right and ability to monitor and remove

third-party apps from Google Play and had general knowledge that other apps

being distributed through Google Play were using names that either were the same

as or confusingly similar to the “Spy Phone” name,11 Based on these alleged facts,

Plaintiffs contributory infringement claim fails under the Inwood Labs and

Tiffany.

      First, this case is even more compelling than Tiffany in favor of Google.

Tiffany had issued tens of thousands of notices to eBay respecting counterfeit

goods,12 whereas here Plaintiff only submitted a handful of specific trademark

infringement complaints to Google, all of which were acted upon by Google.13

Despite this sheer numerical difference, because eBay had responded to each

suggestive, descriptive, and generic marks C A.J. Canfield Co. v. Honickman, 808
F.2d 291, 296-97 (3d Cir.1986) (emphasis added).
n The DDA expressly provides that Google “does not undertake an obligation to
monitor Products or their content” but reserves the right in its discretion to remove
content based upon notification that another app “violates the intellectual property
rights or any other rights of a third party.” (DDA, § 7.2(a)) (emphasis added).
12 From 2003 to 2007, Tiffany sent eBay nearly 285,000 listings of goods that it
believed in good faith to be counterfeit. Tiffany (NJ) Inc. v. eBay, Inc., 576 F.
Supp. 2d at 484,487 (S.D.N.Y. 2008); aff’d in part, rev’d in part, 600 F,3d 93 (2d
Cir. 2010).
13Plaintiff acknowledges that “Google’s developer policies and procedures further
state that if Google is notified ‘or otherwise becomes aware’ that a developer is
offering a product on Google Play [that] violates any of its developer policies,
Google may remove the product from Google Play and reserves the right to
suspend and/or bar the developer from Google Play.” (AC f26) This policy makes
clear that a rights owner must first provide specific notice to Google of allegedly
infringing third-party content, before triggering any obligation on the part of
Google to consider removal.

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notice, it was not deemed to have legally sufficient notice of other alleged

counterfeit goods for which no notice had been submitted and as to which eBay

only had general knowledge. If Tiffany’s many thousands of specific notices were

not deemed legally sufficient to provide notice of other infringing activity or “red

flag” knowledge,” then certainly the handful of specific complaints submitted by

Plaintiff that Google in fact acted upon cannot possibly create liability on the part

of Google for other unidentified alleged infringing content.

      Here, Plaintiff alleges that the instructions for using Google’s trademark

complaint form provide that “[i]f an app is removed from Google Play in response

to a trademark complaint using Google’s online form, the developer of the

infringing app receives a notice from Google stating, among other things, why its

app has been removed from Google Play, the identity of the trademark that has

been infringed and the name and email address of the person who filed the

infringement complaint.” (AC %50) Plaintiff admits that Google removed the apps

as to which Plaintiff provided specific notice of alleged infringement using the

online complaint process; only one app was not removed for valid reasons

communicated to Plaintiff. (AC TJ51; supra, note 13)14


14 To the extent Plaintiff claims Google did not completely suspend accounts of
alleged infringers as to whom Plaintiff issued specific trademark complaints (see
AC 1(136), the Amended Complaint fails to allege that Plaintiff gave any specific
notice to Google of any such repeat trademark infringer, whose account Google
might have suspended under the DDA. (DDA §7.2) Nor does the Amended

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      Plaintiff alleges that subsequently “dozens and dozens of other developers,

including Ciuca and the Doe Defendants, were permitted to list parental

monitoring and other apps on Google Play containing the word ‘spy’ in the

name.” (AC f81) But Plaintiff admits that it elected voluntarily not to submit any

further trademark complaints and instead submitted alternative “spyware”

complaints against these third party developers. (AC ^90) Plaintiff readily admits it

did this to avoid having its true identity disclosed to third party developers about

whom it alleged      trademark infringement; “Instead of submitting trademark

infringement complaints against those apps, however, which could result in Google

revealing Plaintiffs identity to the developer against whom the complaint was

made, Plaintiffs complaints asserted violations of Google’s anti-spyware

policy...., which could be submitted without Google revealing the complainant’s

identity to the other developer.” (AC f90) Plaintiffs spyware complaints did not

reference any trademark claims.

      Plaintiffs intentional decision not to use Google’s admittedly effective

trademark complaint process should in itself bar Plaintiffs claim against Google,

which otherwise had responded to Plaintiffs specific trademark complaints. As the

Tiffany Court emphasized, Inwood*s standard as applied to an online marketplace

Complaint allege that any particular developer used Google Play solely to post
infringing apps. This Is further analogous to Tiffany where eBay also did not
Initially suspend accounts of otherwise legitimate sellers, as opposed to sellers who
used its platform solely to sell counterfeit goods.

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requires that a defendant have non-general knowledge of specific infringing third

party content before liability can attach. Tiffany, 60 F. 3d at 109 (“Tiffany’s

demand letters and Buying Programs did not identify particular sellers who Tiffany

thought were then offering or would offer counterfeit goods.”). It would be

irrational and contrary to the very policy underlying Tiffany — to encourage online

service providers to establish reasonable processes for receiving and acting on

legitimate infringement complaints from trademark rights owners — to impose

liability on Google, or any other provider similarly situated, where a rights owner

intentionally elects not to use that very process.

      Second, a determination of trademark infringement requires a finding of

likelihood of confusion, which is based on an assessment of multiple factors. See

Interpace Corp. v. Lapp, Inc., 721 F.2d 460, 463 (3d Cir. 1983) (applying a ten-

factor test); Accord Checkpoint Sys., Inc. v. Check Point Software Techs, Inc., 269

F. 3d 270, 280 (3d Cir. 2001) (“[n]one of these factors is determinative in the

likelihood of confusion analysis and each factor must be weighed and balanced one

against the other.”). To place any online service provider in the position of having

to conduct its own multi-factor infringement test, a task challenging enough for

courts, would be untenable, particularly here where there are no “counterfeit”

products in issue and likelihood of confusion tests must be applied by courts




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themselves on a case-by-case basis.15 Requiring rights owners to file specific

trademark complaints with Google about other apps therefore provides good faith

grounds for Google to consider removal of those apps, especially where common

words like “spy” and “phone” also can be used in a merely descriptive, non­

trademark, manner. Requiring a trademark claimant to identify itself by name

further provides others with an effective means of challenging the complaining

party’s allegations, including ownership of a mark.16 For the same reasons,

Plaintiffs allegation that Google had “red flag knowledge” of alleged

infringements also fails because, as in eBay, Google did not ignore and responded

to every specific trademark infringement complaint Plaintiff submitted.

      Plaintiff cannot now use as a sword against Google its decision to not use

15 No allegation of counterfeiting appears in the Amended Complaint. Instead,
Plaintiff claims direct and contributory infringement tied to likelihood of
confusion, not counterfeiting, where other developers are alleged to have used
marks confusingly similar to, or the same as, Plaintiffs “Spy Phone” mark for
similar or competing products. (AC %125) (“The acts of Ciuca and the Doe
Defendants ... infringe on Plaintiffs federally registered SPY PHONE® trademark
in violation of § 43(a) of Lanham Act, 15 U.S.C, § 1114(a)”). Section 43(a) of the
Lanham Act is reserved for claims of infringement of unregistered marks, whereas
Section 32(1), 15 U.S.C. § 1114(1), covers counterfeits.
16 Indeed, in this case, at all times relevant to the specific events pleaded in the
Amended Complaint, Plaintiff was not the record owner of the SPY PHONE
federal trademark registration. USPTO records confirm that Plaintiff recorded a
“nunc pro tunc” assignment of that registration from another entity on October 31,
2014, after this case was filed, with an October 20, 2014 execution date. (PG Deck
Ex. B) Thus, each time Plaintiff submitted a specific trademark complaint to
Google, it was not even the record owner of that registration. See 15 U.S.C. §
1114(1) (claims for infringement of a registered mark are limited under the
Lanham Act to an action by the “registrant.”).

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Google’s trademark complaint process. Shifting the legal obligation of assessing

potentially infringing apps to Google in the context of an enormous Android app

online distribution store, in the absence of a requirement for rights owners to

submit complaints     of specifically infringing content, would impose an

unreasonable burden on Google and other online providers, and run afoul of the

principles set forth in Inwood Labs and Tiffany. Accordingly, based on the facts

alleged in the Amended Complaint, Plaintiff cannot sustain its burden of proving

contributory infringement against Google as a matter of law and that cause of

action must be dismissed.

                                    POINT IV

    PLAINTIFF’S CLAIM FOR TORTIOUS INTERFERENCE WITH
  PROSPECTIVE ECONOMIC ADVANTAGE SHOULD BE DISMISSED
A.    The Claim Is Barred Under Section 230 of the CPA

      The CDA immunizes Google from Plaintiffs tortious interference with

prospective economic advantage claim, which is grounded in Google’s decisions to

remove content on its online Google Play marketplace.17 Section 230(c)(2)(A)

grants civil immunity for blocking and screening certain content and provides:



17 Courts have granted Section 230 immunity to bar state law claims of tortious
interference with prospective economic advantage. See, e.g., Zango, Inc. v.
Kaspersky Lab, Inc., 568 F.3d 1169, 1177-78 (9th Cir. 2009); e3601nsight, LLC v.
Comcast C o r p 546 F. Supp. 2d 605, 609-10 (N.D. 111. 2008); Novak v. Overture
Servs., Inc., 309 F. Supp. 2d 446, 452-53 (E.D.N.Y. 2004); Holomaxx Techs, v.
Yahoo!, Inc., 2011 WL 865794, at *4-5 (N.D. Cal. 2011).

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      No provider or user of an interactive computer service shall be held
      liable on account of...any action voluntarily taken in good faith to
      restrict access to or availability of material that the provider or user
      considers to be obscene, lewd, lascivious, filthy, excessively violent,
      harassing, or otherwise objectionable, whether or not such material is
      constitutionally protected.

47 U.S.C. § 230(c)(2)(A). Thus, to assert this prong of the CDA, a movant must

qualify as a provider of an “interactive computer service”; have voluntarily

blocked or filtered material that is “obscene, lewd, lascivious, filthy, excessively

violent, harassing, or otherwise objectionable”; and have done so in “good faith.”

Holomax:c, 2011 WL 865794, at *4 {quoting 47 U.S.C. § 230(c)(2)(A)).

      1.    Google Play is an “Interactive Computer Service”

      The CDA defines an “interactive computer service” as “any information

service, system, or access software provider that provides or enables computer

access by multiple users to a computer server.” 47 U.S.C. § 230(f)(2).18 Google

Play, an online distribution marketplace for Android apps, falls squarely within the

definition. Numerous courts have held that analogous Google online platforms are

interactive computer services under 47 U.S.C. § 230. See, e.g., Parker v. Google,

Inc., 422 F.Supp 2d 492, 501 (E.D. Pa. 2006), affd, 242 Fed. Appx. 833 (3d Cir.

2007); Langdon v. Google, Inc., 474 F. Supp. 2d 622, 631 (D. Del. 2007); Jurin v.
1O                             t                           p

 Courts generally construe “interactive computer service” broadly to include
various online platforms. See Smith v. Trusted Universal Stds. in Elec.
Transactions, Inc., 2011 WL 900096, at *4 (D.N.J. 2011); see also Baztel v. Smith,
333 F. 3d 1018, 1030 (9th Cir. 2003); Carafano v. Metrosplash.com Inc., 339 F.3d
1119, 1122 (9th Cir. 2003).


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Google, Inc,, 695 F. Supp. 2d 1117, 1122 (E.D. Cal. 2010); Mmubctngo v. Google

Inc., 2013 WL 664231, at *2 (E.D. Pa. 2013).

      2,     Google Blocked Material that Is “Objectionable”
      Section 230(c)(2)(A) of the CDA permits a provider of an interactive

computer service to block or filter content that the provider considers to be

“obscene, lewd, lascivious, filthy, excessively violent, harassing, or otherwise

objectionable.” Smith, 2011 WL 900096, at *5 (emphasis in original) (.quoting 47

U.S.C. § 230(c)(2)(A)). Whether material is “objectionable” is consigned to the

judgment of the online service provider, which need not demonstrate whether

material is in fact “objectionable.” See id. (citing Zango, Inc. v. Kaspersky Lab,

Inc., 2007 WL 5189857, at *4 (W.D. Wash. 2007)). See also e360Insight, 546 F.

Supp. 2d at 608 (“[Sjection 230 imposes a subjective element into the

determination of whether a provider or user is immune from liability.”) (citing

Zango, 2007 WL 5189857, at *4); Holomaxx, 2011 WL 865794, at *5 (referring to

the determination of what is objectionable as “subjective”).

      Based on the facts alleged in the Amended Complaint, Section 230(c)(2)(A)

immunizes Google from liability for its blocking decisions regarding content

(apps) it deemed objectionable. See Langdon, 474 F. Supp. 2d at 631 (finding

immunity for Google, Yahoo and Microsoft’s editorial discretion, which included

screening and deleting “objectionable” content from their networks); see also



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Green v. Am. Online, 318 F.3d, 465, 471 (3d. Cir. 2003) (citing Zeran v. Am.

Online, Inc., 129 F.3d 327, 330 (4th Cir. 1997)). Google is not liable as a matter of

law for suspending Plaintiffs App from the Google Play store in response to the

App’s violations of specific Google policies and Google’s own assessment of such

violations, which are representative of content that Google believed to be

“objectionable.” See Green, 318 F,3d at 472 (stating Section 230(c)(2) allows

providers of interactive computer services “to establish standards of decency

without risking liability for doing so.”) As alleged in the Amended Complaint,

Google suspended Plaintiffs App in response to what it believed were violations

of Google’s “spam” policy, which prohibits the sending of electronic messages on

behalf of users without their confirmation. (AC        24,93) See Smith, 2011 WL

900096, at *5 (“Users or providers of an interactive computer service may

determine that spam is material that is harassing or otherwise objectionable under

Section 230(c)(2)(A).”); see also e360Insight, 546 F. Supp. 2d at 607-08 (finding

unsolicited and bulk-emails may be viewed as objectionable). Plaintiffs App was

also suspended due to a violation of Google’s “spyware” policy, which prohibits

apps that collect information without the user’s knowledge. (AC fl23,61) See

Zango, 568 F.3d at 1174 (suggesting that analogous malware, which can retrieve

personal information, is objectionable).

      These actions were taken to remove “objectionable” material from the



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Google Play marketplace, whether based on third party complaints or Google’s

own initiative. Even if Google did err as to whether Plaintiffs App was indeed

objectionable under Google’s policies, as Plaintiff alleges, immunity is still

appropriate. See e360Insight, 546 F. Supp. 2d at 609 (“To force a provider...to

litigate the question of whether what it blocked was or was not spam would render

§ 230(c)(2) nearly meaningless”); see also Langdon, 474 F. Supp. 2d at 630-31

(granting section 230(c)(2) immunity where Plaintiff argued defendants created

“purported reasons for not running his ads.”).

      3.     Google Acted in Good Faith
      To determine whether an interactive computer service blocked or filtered

content in “good faith,” courts look to the pleadings. See, e.g. Smith, 2011 WL

900096, at *8.!9 Plaintiff fails to plead specific facts to support any bad faith action

by Google itself, and thus fails to overcome the CDA immunity because Google

was forthcoming with “objectionable” conduct explanations for suspending

Plaintiffs App from Google Play and requiring Plaintiff change the name of its

app. Cf. id. at *8-9 (finding bad faith where an ISP ignored repeated requests for an9


i9Some courts place the burden on the plaintiff to plead an absence of good faith.
See Holomaxx, 2011 WL 865794, at *5. (“[T]he appropriate question is whether
[plaintiff] has pled an absence of good faith.”) {citing e360Insight, 546 F. Supp. 2d
at 609). At least one court has not required a provider of an interactive computer
service to offer reasons for blocking or filtering content. See, e.g., id. (finding
allegations that Yahoo! refused to discuss its reasoning for filtering content
insufficient to plead an absence of good faith).


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explanation why it blocked plaintiffs outgoing mail). Plaintiff admits that Google

notified it of the reasons for removal of its app from Google Play. (AC fl61,93)

Moreover, Plaintiffs unsubstantiated assertion that Google’s policies were only

enforced against Plaintiff and not other apps on Google Play do not justify an

inference of bad faith. See e360Insight, 546 F. Supp. 2d at 609-10 (granting

immunity where plaintiff claimed he was being “singl[ed] out” because the

defendant ISP allowed other companies to send bulk emails).

      Accordingly, Section 230(c)(2)(A) of the CDA requires dismissal of

Plaintiffs tortious interference with prospective economic advantage claim.

B.    Plaintiff has Failed to State a Tortious Interference Claim
      Even if the CDA did not bar the claim, Plaintiffs claim of tortious

interference with prospective economic advantage fails as a matter of law. The

elements of that claim are well-settled: (1) the plaintiff must have a protectable

right giving rise to a reasonable expectation of economic advantage, (2) the

defendant must have been aware of the prospective economic advantage, (3) the

defendant must have interfered intentionally and with malice, (4) there must be a

reasonable probability that the plaintiff would have received the anticipated

economic benefits, but for the defendant’s interference, and (5) resulting damage.

Printing Mart~Morristown v. Sharp Elec. C o r p 116 N.J. 739, 751-52 (1989); see

also Wexco Indus, v. ADM21 Co., 2008 WL 5427867, at *7 (D.N.J. 2008); Coast

Cities Truck Sales, Inc. v. Navistar In ti Transp. C o 912 F. Supp. 747, 771

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(D,N.J, 1995); accord Korea Supply Co, v. Lockheed Martin C o r p 63 P,3d 937,

950 (Cal. 2003) (listing elements of claim), citing Della Penna v. Toyota Motor

Sales, U.S.A., Inc., 902 P. 2d 740, 748 (CA 1995).

      In this context, “malice” is defined to mean that the harm was inflicted

intentionally and without justifiable excuse. Printing Mart, 116 N.J. at 751.20 The

test is whether the defendant “had the right to perform the act or set of actions that

gave rise to the lawsuit.” Wexco, 2008 WL 5427867, at *8. “Tort liability for

interference with prospective economic benefit arises when the conduct of the

defendant is not in the reasonable exercise of an equal or superior right.” Id (iquote

omitted). “[OJur courts have concluded that ‘violence, fraud, intimidation,

misrepresentation, criminal or civil threats, and/or violations of the law’ are among

the kinds of conduct that would be considered to be ‘wrongful means.’” Nostrame

v. Santiago, 213 N.J. 109, 124 (2013), quoting E Z Sockets, Inc, v. Brighton-Best

Socket Screw Mfg, Inc., 307 N.J.Super. 546, 559 (Ch. Div.1996), affd, 307

N.J.Super. 438 (App. Div.1997). see also Della Penna, 902 P.2d at 751 (plaintiff

must plead and prove that defendant’s conduct was “wrongful by some legal

measure other than the fact of the interference itself’); Korea, 63 P,3d at 953-54

(“The tort of intentional interference with prospective economic advantage is not

intended to punish individuals or commercial entities for their commercial

20 Notably, Plaintiff only alleges that the Individual Defendants acted “intentionally
and without justification or excuse” but not Google. (AC fl!46-47)

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relationships or their pursuit of commercial objectives. ...[A]n act is independently

wrongful if it is unlawful, that is, if it is proscribed by some constitutional,

statutory, regulatory, common law, or other determinable legal standard.”)

      Here, Google did nothing more than exercise its contract rights under the

DDA — “superior” rights that cannot be the basis of a finding of malicious or

tortious conduct. Wexco, 2008 WL 5427867, at *8. Indeed, Plaintiffs failure to

plead a breach of contract claim highlights that Google acted within its contract

rights under the DDA. Under the express terms of the DDA, Google, in “its sole

discretion,” is authorized to take down any app that Google has deemed to be

spyware. (DDA §7.2(f)) Such spyware is also prohibited by Google’s Developer

Program Policies, which are incorporated into the DDA. (DDA §4.11; AC fl20-

21) Plaintiffs conclusory allegation that Google “knew that there was no real

justification for either the removal of Plaintiffs App from Google Play or the

termination of its developer account” is irrelevant. (AC %65) Google’s actions were

expressly permitted under the parties’ contract and that, as a matter of law,

precludes any tortious interference claim. For the same reason, Plaintiffs

conclusory assertion that Google acted in “bad faith” is nothing more than “a

formulaic recitation of the element[] of a cause of action” that does not meet the

pleading standard of Twombly, 550 U.S. at 555.




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      Similarly, Google’s alleged failure to remove allegedly infringing apps or to

suspend other developers’ accounts is completely within Google’s “sole

discretion” under the DDA. (DDA §7.2(f)) In choosing whether or not to suspend

accounts, Google, therefore, could not have acted intentionally and with malice

outside of its existing legal contract rights. Additionally, the DDA expressly

provides that a violation of its terms (and the spyware and other policies

incorporated by reference therein) is a ground for Google to terminate its contract

with Plaintiff. (DDA § 10.3(A)). Thus, Google’s termination and subsequent

suspension of Plaintiffs account also were completely within Google’s rights

under the DDA. Google’s exercise of its contractual rights is not “wrongful

conduct” and certainly cannot support Plaintiffs claim of tortious interference.

      There are no allegations that Google acted wrongfully by doing anything

that was not permitted by its contract, or that Google acted illegally, made

misrepresentations to Plaintiffs customers or acted with deceit to somehow

maliciously interfere with Plaintiffs customers (i.e., consumers who could

download Plaintiffs app for free). Plaintiff neither alleges that Google acted with

“violence, fraud, intimidation,... criminal or civil threats, and/or [committed]

violations of the law” or with any other kind of “wrongful means,” Nostrame, 213

N.J. at 124 (citations omitted), nor that Google wrongfully “Induced” any of

Plaintiffs “customers” not to download its free app.



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      The alleged anonymous letter purportedly from a Google Play employee

provides no factual basis for an allegation of the requisite malice or wrongful

conduct.t That anonymous letter — which is not attached to the Amended

Complaint — allegedly describes actions of unidentified Google employees who

“orchestrated” the removal of Plaintiffs app from Google Play in order to further

their own improper and plainly ultra vires activities. (AC f1J103-106) Even if these

incredible “facts” are assumed to be true, they do not support any inference that

Google as a corporate entity — as opposed to employees clearly acting outside

their authority — committed any wrongful conduct. Moreover, there is no

allegation in the Amended Complaint that such Google employees were corporate

officers, had any legal right to bind Google, or that Google authorized such

outrageous alleged conduct.

      These alleged facts simply do not plead “malice,” ie., that Google itself

acted without justification or excuse, Printing Mart, 116 N.J. at 751, particularly

when Google’s alleged conduct was squarely within its rights under the DDA. For

the same reason, these allegations do not plead that Google committed any

wrongful act independent of the alleged interference itself. Korea, 63 P.3d at 953.

      Plaintiffs tortious interference claim also runs afoul of the economic loss

doctrine, which “prohibits plaintiffs from recovering in tort economic losses to

which their entitlement only flows from a contract.” Bracco Diagnostics, Inc. v.



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Bergen Brunswig Drug Co., 226 F. Supp. 2d 557, 562 (D.N.J. 2002); Sa/fce/ v. GS7

Consultants, Inc., 170 N.J. 297 (2002). Here, all the challenged conduct of Google

falls within the parties ‘contractual relationship and is governed by the DDA. As

such, Plaintiff cannot do an end run around the terms of that contract by pleading

his claim in the guise of tortious interference. See Howmedica Osteonics Corp. v.

Zimmer, Inc., 2012 WL 5554543, at *14 (D.N.J. 2012) (“Soliciting [Plaintiffs

customers or employees] was a clear violation of the Individual Defendants’

contracts with [Plaintiff], thus ... the economic loss doctrine applies and the

[tortious interference] claims are barred.”); Trico Equip., Inc. v. Manor, 2011 WL

705703, at *4 (D.N.J. 2011) (dismissing tortious interference claim as barred by

the economic loss doctrine). See also WeBoost Media S.R.L. v. LookSmart Ltd.,

2014 WL 824297, at *5 (N.D. Cal. Feb. 28, 2014) (dismissing tortious interference

claim as barred by the economic loss doctrine where plaintiff “failed to allege any

conduct that is independent from the promises the parties made during the course

of their contractual relationship. . . .”).

          Nor has Plaintiff pled any recoverable damages on this claim. Plaintiff

alleges that the “prospective customers” with whom Google allegedly interfered

are the prospective customers who would have downloaded its app from Google

Play. (AC m 145-46). But, the Amended Complaint also alleges that those

prospective customers would have downloaded Plaintiffs app for free. (AC ^|37)



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Therefore Plaintiff could not have suffered any direct damages from the loss of

such free downloads. Plaintiff seeks only consequential lost profits damages, (AC

f l ! 5 (“Plaintiffs Internet visibility and profits have diminished....”)) The alleged

connection of those claimed damages to Google’s allegedly “wrongful” conduct is

tenuous at best. Plaintiff alleges that by suspending its Spy Phone app from Google

Play — which Google was contractually entitled to do — fewer customers

downloaded the free app, therefore fewer customers visited its website, in turn

fewer customers clicked on advertisements on the website, and as a result Plaintiff
                                                                  O 1
lost revenue it would have received by virtue of the clicks.            (AC   9-41,79­

80,147-48) Finally, the DDA expressly precludes any recovery for the

consequential and lost profits damages that Plaintiff seeks. (DDA f 12). Particularly

here, where Google Play is a free service and Plaintiffs App was a free download,

such contractual limitations on consequential losses and lost profits are regularly

enforced by courts in both New Jersey and California. See N at’l Rural Telecomms.

v. DIRECTV, I n c 319 F. Supp. 2d 1040, 1055 (C.D. Cal. 2003) (allowing TV

service provider to invoke against distributor limitations clause that barred

recovery of lost profits); Hebert v. Rapid Payroll, Inc., 2005 WL 6172659, at *7

(C.D. Cal. 2005) (limitation of damages provision in license agreement is not


21Plaintiffs revenue sharing arrangement with respect to clicks on ads on its
website are governed by a separate contract with Google relating to Google’s
AdSense program, (AC ^37-39)

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unconscionable and bars plaintiffs recovery of lost profits as a matter of law);

Strassle v, Bimbo Foods Bakeries Distrib., I n c 2013 WL 1007289, at *5 (D.N.J.

2013) (enforcing damages limitation clause in distribution agreement barring

recovery of “consequential, incidental, indirect or special damages, including lost

profits and punitive damages,” and finding that waiver is not unconscionable).

      As a matter of both New Jersey and California law, therefore, Count III of

the Amended Complaint failed to state a claim.

                                   CONCLUSION

      For all the foregoing reasons, Google respectfully requests that (i) all claims

against it be transferred to the Northern District of California; or, in the alternative,

(ii) Counts II and III of the Amended Complaint be dismissed, with prejudice and

with costs awarded to Google.

Dated: February 23, 2015

                                  Respectfully submitted

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